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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

-------------------------------------------------x
STACEY MERCER,
an individual,

                 Plaintiff,                                  CASE NO.: 1:20-cv-9945

                 v.


TAR HEEL MOTEL OF OBX, LLC,
a North Carolina limited liability company,

                  Defendant.
-------------------------------------------------x

                                                COMPLAINT

        Plaintiff, STACEY MERCER (hereinafter “Plaintiff”), sues Defendant, TAR HEEL

MOTEL OF OBX, LLC, a North Carolina limited liability company (hereinafter “Defendant”),

for injunctive relief, attorneys’ fees, and litigation costs, including but not limited to

disbursements, court expenses, and other fees, pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12181 et seq. (“ADA”) and the ADA Accessibility Guidelines, 28 C.F.R. Part 36

(hereinafter “ADAAG”), and for injunctive relief and damages, pursuant to the New York State

Human Rights Law, and the New York City Human Rights Law, and alleges:

                                              INTRODUCTION

        1.       Defendant owns and/or operates that certain hotel known as the TAR HEEL

MOTEL, located in Nag’s Head, North Carolina (the “Hotel”). The Hotel has a website located at

www.tarheelmotel.com (the “Website”). The Hotel takes reservations through the Website, and

provides information to the public regarding available guestrooms, Hotel amenities, and Hotel

common areas.
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       2.      As of March 15, 2012, the Hotel was required to ensure that all of its reservation

systems, including its online reservation systems (a) identify and describe disabled accessible

features of the Hotel in detail; (b) identify and describe specific accessibility features of ADA

compliant guest rooms in detail; (c) permit disabled individuals to independently assess whether

the Hotel common areas and guestrooms meet their individual accessibility needs (by describing

accessible and inaccessible features); and (d) allow reservations to be taken for accessible

guestrooms in the same manner as for non-accessible guestrooms.1 Defendant has not complied.

This lawsuit follows.

                                    JURISDICTION AND VENUE

       3.      This Court has original subject matter jurisdiction over this action pursuant to 28

U.S.C., §§1331, 1343, as Plaintiff’s claims arise under 42 U.S.C. §12181. et seq., based upon the

enumerated violations of Title III of the Americans with Disabilities Act (see also, 28 U.S.C. §§

2201 and 2202).

       4.      This Court has personal jurisdiction over Defendant in this action. Defendant owns

or operates the Hotel which uses its financially interactive Website to do business (or to seek to do

business) with individuals in this District by taking (or seeking to take) reservations and payments

from such individuals, and which violated Plaintiff’s civil rights in this District as set forth more

fully below.

       5.      Venue lies in this District pursuant to 28 U.S.C. §1391(a)(2), because a substantial

part of the events or omissions giving rise to the claims here at issue occurred in this District;



1
  This is a non-exclusive list of requirements imposed by 28 C.F.R. §36.302(e)(l). These
requirements apply not only to the Website, but also to every online reservation system on which
reservations can be made to stay at the Hotel, including orbitz.com, travelocity.com, hotels.com,
and others.


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Plaintiff encountered Defendant’s ADA violations in this District, and the injury to Plaintiff here

at issue occurred in this District.

        6.        This Court has supplemental jurisdiction over Plaintiff’s claims arising under New

York State law. 28 U.S.C.S. §1367(a).

                                                   PARTIES

        7.        At all times material hereto, Plaintiff, STACEY MERCER, was and is over the age

of 18 years, sui juris, and a resident of New York, New York, which is located within this District.

        8.        Plaintiff has at all material times suffered from a “qualified disability” under the

ADA. Plaintiff suffers from paraplegia, and therefore uses a wheelchair for mobility.

        9.        Plaintiff travels to North Carolina frequently, and uses the Internet to evaluate and

book accessible hotel rooms.

        10.       Defendant is a North Carolina corporation, which conducts and/or seeks to conduct

business in the State of New York through its financially interactive website, through which it

transacts or seeks to transact business (reservations and payments) from and with individuals in

this District.

                                     COUNT I
                 VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

        11.       On July 26, 1990, Congress enacted the ADA, explaining that its purpose was to

provide a clear and comprehensive national mandate for the elimination of discrimination against

individuals with disabilities and to provide clear, strong, consistent, enforceable standards

addressing such discrimination, invoking the sweep of congressional authority in order to address

the major areas of discrimination faced day-to-day by people with disabilities to ensure that the

Federal government plays a central role in enforcing the standards set by the ADA. 42 U.S.C. §

12101(b)(l) - (4).


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       12.     Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15, 2010, the

Department of Justice, Office of the Attorney General (“DOJ”), published revised regulations for

Title III of the Americans With Disabilities Act of 1990. Public accommodations, including places

of lodging were required to conform to these revised regulations on or before March 15, 2012.

       13.     On March 15, 2012, the revised regulations implementing Title III of the ADA took

effect, imposing significant new obligations on inns, motels, hotels and other “places of lodging.”

28 C.F.R. §36.302(e)(l) provides that:

               Reservations made by places of lodging. A public accommodation
               that owns, leases (or leases to), or operates a place of lodging shall,
               with respect to reservations made by any means, including by
               telephone, in-person, or through a third party –

               (i)    Modify its policies, practices, or procedures to ensure that
               individuals with disabilities can make reservations for accessible
               guest rooms during the same hours and in the same manner as
               individuals who do not need accessible rooms;

               (ii)    Identify and describe accessible features in the hotels and
               guest rooms offered through its reservations service in enough detail
               to reasonably permit individuals with disabilities to assess
               independently whether a given hotel or guest room meets his or her
               accessibility needs;

               (iii) Ensure that accessible guest rooms are held for use by
               individuals with disabilities until all other guest rooms of that type
               have been rented and the accessible room requested is the only
               remaining room of that type;

               (iv)   Reserve, upon request, accessible guest rooms or specific
               types of guest rooms and ensure that the guest rooms requested are
               blocked and removed from all reservations systems; and

               (v)    Guarantee that the specific accessible guest room reserved
               through its reservations service is held for the reserving customer,
               regardless of whether a specific room is held in response to
               reservations made by others.




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       14.     In promulgating the new requirements, the Department of Justice made clear that

individuals with disabilities should be able to reserve hotel rooms with the same efficiency,

immediacy, and convenience as those who do not need accessible guestrooms. 28 C.F.R. Part 36,

Appx. A.

       15.     Hotels (and motels) are required to identify and describe all accessible features in

the hotel and guestrooms; “[t]his requirement is essential to ensure individuals with disabilities

receive information they need to benefit from the services offered by the place of lodging.” 28

C.F.R. Part 36, Appx. A. Moreover, “a public accommodation’s designation of a guestroom as

“accessible” does not ensure necessarily that the room complies with all of the 1991 Standards.”

28 C.F.R. Part 36, Appx. A. Labeling a guestroom as “accessible” or “ADA” is not sufficient.

       16.     In addition,

               hotel rooms that are in full compliance with current standards may
               differ, and individuals with disabilities must be able to ascertain
               which features – in new and existing facilities – are included in the
               hotel’s accessible guest rooms. For example, under certain
               circumstances, an accessible hotel bathroom may meet accessibility
               requirements with either a bathtub or a roll in shower. The presence
               or absence of particular accessible features such as these may mean
               the difference between a room that is usable by a particular person
               with a disability and one that is not.

28 C.F.R. Part 36, Appx. A. Accordingly, Defendant is required to set forth specific accessible

features and not merely recite that a guestroom is “accessible” or “ADA” or list accessibility

features that may (or may not) be offered within a particular room.

       17.     For hotels in buildings constructed after the effective date of the 1991 Standards, it

is sufficient to advise that the hotel itself is fully ADA compliant, and for each accessible

guestroom, to specify the room type, the type of accessible bathing facility in the room, and the

communications features in the room. 28 C.F.R. Part 36, Appx. A.



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       18.     However, for hotels in buildings constructed prior to the 1991 Standards,

information about the hotel should include, at a minimum

               information about accessible entrances to the hotel, the path of travel
               to guest check-in and other essential services, and the accessible
               route to the accessible room or rooms. In addition to the room
               information described above, these hotels should provide
               information about important features that do not comply with the
               1991 Standards. For example, if the door to the “accessible” room
               or bathroom is narrower than required, this information should be
               included (e.g., door to guest room measures 30 inches clear).
               [emphasis added].

28 C.F.R. Part 36, Appx. A.

       19.     The Hotel is a place of public accommodation that owns and/or leases and operates

a place of lodging pursuant to the ADA.

       20.     The Website (and all other online reservation platforms used by the Hotel) allow

reservations for the Hotel to be taken online. The Defendant has control over information provided

to the public about the Hotel through the Website and/or other online platforms.

       21.     Prior to filing this lawsuit, Plaintiff visited the Website to learn about accessible

features of the Hotel, and to independently assess whether the Hotel is accessible to her, and

whether she could independently reserve an accessible room at the Hotel, in the same manner as

those seeking to reserve non-accessible rooms.

       22.     Upon her visit, Plaintiff discovered that the Website does not provide all of the

required accessibility information, in violation of 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA

Accessibility Guidelines, 28 C.F.R. Part 36.

       23.     In fact, the Website homepage says nothing about accessibility or the ADA. A link

entitled search rooms brings up a large number of guestrooms, not including any guestroom




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designated as accessible. When search availability is selected and dates put in, available rooms

are populated, not including any accessible any guestrooms whatsoever.

       24.     The About The Tarheel page does not describe any accessibility features of the

Hotel. Although there is a statement about service animals and even a link to the ADA service

animal policy, the Website does not indicate whether the Hotel common areas and amenities are

in full compliance with all of the 1991 Standards, or, in the alternative (as may be applicable):

               a.      Whether the public entrance to the Hotel complies with the 1991 Standards,

       and if not, the ways in which it does not comply, so that Plaintiff and other similarly

       situated can evaluate whether it is accessible to them;

               b.      Whether the registration desk at the Hotel complies with the 1991

       Standards, and if not, the ways in which it does not comply, so that Plaintiff and other

       similarly situated can evaluate whether it is accessible to them;

               c.      Whether restaurant or other food service areas at the Hotel comply with the

       1991 Standards, and if not, the ways in which they do not comply, so that Plaintiff and

       other similarly situated can evaluate whether it is accessible to them;

               d.      Whether any parking facilities, lots, or other parking accommodations at the

       Hotel comply with the 1991 Standards, and if not, the ways in which they do not comply,

       so that Plaintiff and other similarly situated can evaluate whether it is accessible to them;

               e.      Whether the swimming pool (if any) complies with the 1991 Standards, and

       if not, the ways in which it does not comply, so that Plaintiff and other similarly situated

       can evaluate whether it is accessible to them;




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       f.      Whether the business center complies with the 1991 Standards, and if not,

the ways in which it does not comply, so that Plaintiff and other similarly situated can

evaluate whether it is accessible to them;

       g.      Whether the meeting/ballroom areas comply with the 1991 Standards, and

if not, the ways in which they do not comply, so that Plaintiff and other similarly situated

can evaluate whether it is accessible to them;

       h.      Whether the route from the public entrance to the registration desk is

accessible in compliance with the 1991 Standards, and if not, the ways in which it does not

comply, so that Plaintiff and other similarly situated can evaluate whether it is accessible

to them;

       i.      Whether the route from the registration desk to the accessible rooms is

accessible in compliance with the 1991 Standards, and if not, the ways in which it does not

comply, so that Plaintiff and other similarly situated can evaluate whether it is accessible

to them;

       j.      Whether the route from the public entrance to the business center is

accessible in compliance with the 1991 Standards, and if not, the ways in which it does not

comply, so that Plaintiff and other similarly situated can evaluate whether it is accessible

to them;

       k.      Whether the route from the accessible guestrooms to the business center is

accessible in compliance with the 1991 Standards, and if not, the ways in which it does not

comply, so that Plaintiff and other similarly situated can evaluate whether it is accessible

to them;




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        l.      Whether the route from the public entrance to the pool (if any) is accessible

in compliance with the 1991 Standards, and if not, the ways in which it does not comply,

so that Plaintiff and other similarly situated can evaluate whether it is accessible to them;

        m.      Whether the route from the accessible guestrooms to the pool (if any) is

accessible in compliance with the 1991 Standards, and if not, the ways in which it does not

comply, so that Plaintiff and other similarly situated can evaluate whether it is accessible

to them;

        n.      Whether the route from the public entrance to the fitness center is accessible

in compliance with the 1991 Standards, and if not, the ways in which it does not comply,

so that Plaintiff and other similarly situated can evaluate whether it is accessible to them;

        o.      Whether the route from the accessible guestrooms to the fitness center is

accessible in compliance with the 1991 Standards, and if not, the ways in which it does not

comply, so that Plaintiff and other similarly situated can evaluate whether it is accessible

to them;

        p.      Whether the route from the public entrance to the restaurant or food service

areas is accessible in compliance with the 1991 Standards, and if not, the ways in which it

does not comply, so that Plaintiff and other similarly situated can evaluate whether it is

accessible to them;

        q.      Whether the route from the accessible guestrooms to the restaurant or food

service areas is accessible in compliance with the 1991 Standards, and if not, the ways in

which it does not comply, so that Plaintiff and other similarly situated can evaluate whether

it is accessible to them;




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               r.      Whether the route from the public entrance to the conference/ballroom

       space is accessible in compliance with the 1991 Standards, and if not, the ways in which it

       does not comply, so that Plaintiff and other similarly situated can evaluate whether it is

       accessible to them;

               s.      Whether the route from the accessible guestrooms to the meeting/ballroom

       space is accessible in compliance with the 1991 Standards, and if not, the ways in which it

       does not comply, so that Plaintiff and other similarly situated can evaluate whether it is

       accessible to them;

       25.     This is not intended to be an exclusive list, and Plaintiff also brings this action to

remediate all violations of the ADAAG found to exist upon the Website, and upon all online

reservation platforms used by the Hotel.

       26.     Further, upon information and belief, Defendant may not effectively (i) ensure that

accessible guest rooms are held for use by individuals with disabilities until all other guest rooms

of that type have been rented and the accessible room requested is the only remaining room of that

type; (ii) reserve, upon request, accessible guest rooms or specific types of guest rooms and ensure

that the guest rooms requested are blocked and removed from all reservations systems; or (iii)

guarantee that the specific accessible guest room reserved through its reservations service is held

for the reserving customer, regardless of whether a specific room is held in response to reservations

made by others. Discovery is required on these issues.

       27.     Plaintiff will visit the Website again, upon the Defendant’s compliance with the

laws and regulations specified herein, in order learn about the accessible (and inaccessible)

features, learn about the accessible (and inaccessible) features of guestrooms, assess the extent to




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which the hotels meet each of their specific accessibility needs, and determine whether she can

reserve an accessible guestroom.

       28.      Defendant has discriminated against Plaintiff and all other mobility-impaired

individuals by denying full and equal access to and enjoyment of the goods, services, facilities,

privileges, advantages and accommodations offered on the Websites, due to the continuing ADA

and ADAAG violations as set forth above. Defendant has had eight (8) years to bring the Website

(and other online reservation platforms, as applicable) into compliance with the ADAAG

revisions, but has failed or refused to do so.

       29.      Modifying the Website (and other online reservation platforms, as applicable) to

comply with the ADA and ADAAG is accomplishable without undue burden or expense and is

readily achievable. But in any event, upon information and belief, the Website has been altered,

updated, and edited, after 2010, but not in a manner compliant with 2010 ADAAG standards.

       30.      Defendant will continue to discriminate against Plaintiff and all other disabled

individuals who access the Website (and other online reservation platforms, as applicable) unless

and until Defendant modifies the Website (and other online reservation platforms, as applicable)

to set forth all required information, as set forth above.

       31.      Plaintiff is without an adequate remedy at law and is suffering irreparable harm,

and Plaintiff reasonably anticipates that she will continue to suffer this harm unless and until

Defendant is required to correct the ADA violations found upon the Websites (and other online

reservation platforms, as applicable), and to maintain the Websites (and other online reservation

platforms, as applicable), inclusive of the online reservation system, and accompanying policies

and procedures, in a manner that is consistent with and compliant with ADA and ADAAG

requirements.



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         32.    Pursuant to 42 U.S.C. §12188(a) this Court has authority to grant injunctive relief

to Plaintiff including an Order that compels Defendant to enact policies that are consistent with

the ADA and its remedial purposes, and to alter and maintain its Website (and other online

reservation platforms, as applicable), and all online reservation systems, in accordance with the

requirements set forth within the 2010 Standards, 28 C.F.R. §36.302(e)(l).

                                 COUNT II
            VIOLATIONS OF THE NEW YORK STATE HUMAN RIGHTS LAW

         33.    Plaintiff re-avers the allegations set forth above as though fully set forth herein.

         34.    The New York State Human Rights Law provides:

                It shall be an unlawful discriminatory practice for any person, being
                the owner, lessee, proprietor, manager, superintendent, agent or
                employee of any place of public accommodation…. because of the
                … disability … of any person, directly or indirectly, to refuse,
                withhold from or deny to such person any of the accommodations,
                advantages, facilities or privileges thereof … to the effect that any
                of the accommodations, advantages, facilities and privileges of any
                such place shall be refused, withheld from or denied to any person
                on account of … disability … 2

         35.    The Website (and other online reservation platforms, as applicable) is a gateway to,

and a part of, the Hotel, which is a place of public accommodation as defined by the New York

State Human Rights Law.

         36.    By maintaining barriers that discriminate against people with disabilities through

the actions described above, Defendant has, directly or indirectly, refused, withheld, and/or denied

to Plaintiff in New York, because of disability, accommodations, advantages, facilities or

privileges of the Hotel. The failure by Defendant to act to identify and remove these barriers, which

have been illegal since March 15, 2012, can be construed as “negligence per se.”



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    NYS Exec. Law § 296 (2)(a).

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         37.     Plaintiff has been damaged and will continue to be damaged by this discrimination

as more fully set forth above and, in addition to injunctive relief, seek judgment pursuant to N.Y.

Exec. Law §297, including damages pursuant to §297(9) thereof.

                                   COUNT III
               VIOLATIONS OF THE NEW YORK CITY HUMAN RIGHTS LAW

         38.     Plaintiff re-avers the allegations set forth above as though fully set forth herein.

         39.     The New York City Human Rights Law provides:

                 It shall be an unlawful discriminatory practice for any person, being
                 the owner, lessee, proprietor, manager, superintendent, agent or
                 employee of any place or provider of public accommodation
                 because of the actual or perceived…disability…of any person,
                 directly or indirectly, to refuse, withhold from or deny to such
                 person any of the accommodations, advantages, facilities or
                 privileges thereof…to the effect that any of the accommodations,
                 advantages, facilities and privileges of any such place or provider
                 shall be refused, withheld from or denied to any person on account
                 of …disability…3

         40.     Defendant is in violation of the New York City Human Rights Law by denying the

Plaintiff in New York full access to all the accommodations, benefits, and services, available

appurtenant to the Hotel, as described above.

         41.     Plaintiff has been damaged and will continue to be damaged by this discrimination

as more fully set forth above and, in addition to injunctive relief, seeks judgment pursuant to the

New York City Human Rights Law, and all relief provided for thereunder.

         WHEREFORE, Plaintiff, STACEY MERCER, respectfully requests that this Court enter

judgment in her favor, and against Defendant, as follows:




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    NYC Admin Code § 8-107(4)(a)
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        a.      A declaration that the Website (and other online reservation platforms, as

applicable) is owned, leased, operated, and/or controlled by Defendant is in violation of the ADA,

NYSHRL, and/or NYCHRL;

        b.      Temporary and permanent injunctive relief enjoining Defendant from continuing

its discriminatory practices, including the requirement that Defendant permanently implement

policies, practices, procedures, including online content, consistent with the mandates of the 2010

ADAAG Standards on its Website (and other online reservation platforms, as applicable);

        c.      Temporary and permanent injunctive relief enjoining Defendant from maintaining

or controlling content on any Website through which it is offering online reservations for any hotel

that it owns or operates, unless such Website and online reservation system fully comply with 28

C.F.R. §36.302(e)(l);

        d.      An award of reasonable attorneys’ fees, costs, disbursements and other expenses

associated with this action, in favor of Plaintiff;

        e.      An award of compensatory damages deemed just and appropriate pursuant to

NYSHRL and NYCHRL, to Plaintiff; and

        f.      Such other and further relief as this Court deems just, necessary and appropriate

under the circumstances.

        DATED this 25th day of November, 2020.
                                                           Respectfully Submitted,

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